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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 11-21435-CIV-ALTONAGA/Simonton

 ANIELKA BAEZ,

        Plaintiff,

 vs.

 LTD FINANCIAL SERVICES, LP,

       Defendant.
 ______________________________/

                          ORDER OF DISMISSAL WITH PREJUDICE

        THIS CAUSE came before the Court on the Notice of Voluntary Dismissal With Prejudice,

 filed June 22, 2011 [ECF No. 5]. Being fully advised, it is hereby

        ORDERED AND ADJUDGED that this matter is dismissed with prejudice. Each party

 shall bear its own fees and costs. If the parties wish the Court to retain jurisdiction to enforce their

 agreement, they are to submit the written agreement to the Court within thirty (30) days of the date

 of this Order.

        The Clerk is directed to CLOSE this case forthwith and all pending motions are DENIED

 as moot.

        DONE AND ORDERED in Chambers at Miami, Florida, this 22nd day of June, 2011.



                                                            _________________________________
                                                            CECILIA M. ALTONAGA
                                                            UNITED STATES DISTRICT JUDGE

 cc:    counsel of record
